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                                                                            L.B.F. 3015.1

                                                   UNITED STATES BANKRUPTCY COURT
                                               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 In re: Joseph Zwicharowski                                                           Case No.: 17-11811
                                                                                      Chapter 13
                                            Debtor(s)

                                                                           Chapter 13 Plan

    Original

             Amended

Date: September 27, 2019

                                                                THE DEBTOR HAS FILED FOR RELIEF UNDER
                                                                 CHAPTER 13 OF THE BANKRUPTCY CODE

                                                                     YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the confirmation
hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts. You should read these papers
carefully and discuss them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN MUST FILE A
WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4. This Plan may be confirmed and become binding,
unless a written objection is filed.

                                               IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                                              MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                                           NOTICE OF MEETING OF CREDITORS.


 Part 1: Bankruptcy Rule 3015.1 Disclosures


                                 Plan contains nonstandard or additional provisions – see Part 9

                                 Plan limits the amount of secured claim(s) based on value of collateral – see Part 4

                                 Plan avoids a security interest or lien – see Part 4 and/or Part 9


 Part 2: Plan Payment, Length and Distribution – PARTS 2(c) & 2(e) MUST BE COMPLETED IN EVERY CASE

      § 2(a)(1) Initial Plan:
           Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”)
           Debtor shall pay the Trustee for 60 months; and
           Debtor shall pay the Trustee $       per month for         months.
         Other changes in the scheduled plan payment are set forth in § 2(d)

    § 2(a)(2) Amended Plan:
          Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $38,020.00
    The Plan payments by Debtor shall consists of the total amount previously paid ($12,220.00)
added to the new monthly Plan payments in the amount of $860.00 beginning October 15th, 2019 and continuing for          30       months.
        Other changes in the scheduled plan payment are set forth in § 2(d)

    § 2(b) Debtor shall make plan payments to the Trustee from the following sources in addition to future wages (Describe source, amount and date
when funds are available, if known):

      § 2(c) Alternative treatment of secured claims:
              None. If “None” is checked, the rest of § 2(c) need not be completed.

                  Sale of real property

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             See § 7(c) below for detailed description

                Loan modification with respect to mortgage encumbering property:
             See § 4(f) below for detailed description

      § 2(d) Other information that may be important relating to the payment and length of Plan:



      § 2(e) Estimated Distribution

              A.         Total Priority Claims (Part 3)

                         1. Unpaid attorney’s fees                                                   $                              3,729.00

                         2. Unpaid attorney’s cost                                                   $                                  0.00

                         3. Other priority claims (e.g., priority taxes)                             $                                122.76

              B.         Total distribution to cure defaults (§ 4(b))                                $                             25,074.82

              C.         Total distribution on secured claims (§§ 4(c) &(d))                         $                              5,270.30

              D.         Total distribution on unsecured claims (Part 5)                             $                                  0.00

                                                                      Subtotal                       $                             34,196.88

              E.         Estimated Trustee’s Commission                                              $                                  10%


              F.         Base Amount                                                                 $                             38,020.00

 Part 3: Priority Claims (Including Administrative Expenses & Debtor’s Counsel Fees)

             § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full unless the creditor agrees otherwise:

 Creditor                                                            Type of Priority                             Estimated Amount to be Paid
 Brad J. Sadek, Esquire                                              Attorney Fee                                                                       $3,729.00
 City of Philadelphia                                                Secured Claim                                                                       $122.76

             § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid less than full amount.

                          None. If “None” is checked, the rest of § 3(b) need not be completed or reproduced.



 Part 4: Secured Claims

             § 4(a) ) Secured claims not provided for by the Plan

                          None. If “None” is checked, the rest of § 4(a) need not be completed.
 Creditor                                                                     Secured Property


     If checked, debtor will pay the creditor(s) listed below directly                  3982 Carteret Drive Philadelphia, PA 19114 Philadelphia County
 in accordance with the contract terms or otherwise by agreement                        Market Value = $157,953.00, minus 10% cost of sale = $142,157.70
 Nationstar Mortgage LLC
                                                                                        3314 S. Keswick Circle Philadelphia, PA 19114 Philadelphia
     If checked, debtor will pay the creditor(s) listed below directly                  County
 in accordance with the contract terms or otherwise by agreement                        Market Value = $163,000.00, minus 10% cost of sale = $146,700.00
 U.S. Bank, N.A.



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     If checked, debtor will pay the creditor(s) listed below directly                 3281 Red Lion Road Philadelphia, PA 19114 Philadelphia County
 in accordance with the contract terms or otherwise by agreement                       Market Value = $185,000.00, minus 10% cost of sale = $166,500.00
 TD Bank North
     If checked, debtor will pay the creditor(s) listed below directly                 3281 Red Lion Road Philadelphia, PA 19114 Philadelphia County
 in accordance with the contract terms or otherwise by agreement                       Market Value = $185,000.00, minus 10% cost of sale = $166,500.00
 Wells Fargo Home Mortgage

             § 4(b) Curing Default and Maintaining Payments

                          The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and, Debtor shall
                          pay directly to creditor monthly obligations falling due after the bankruptcy filing in accordance with the parties’
                          contract.

                            Creditor                       Description of         Current Monthly        Estimated      Interest Rate       Amount to be
                                                           Secured                Payment to be          Arrearage      on Arrearage,       Paid to Creditor
                                                           Property and           paid directly to                      if applicable       by the Trustee
                                                           Address, if real       creditor by                           (%)
                                                           property               Debtor
                            Nationstar                     3982 Carteret          Directly               $2,071.29                          $2,071.29
                            Mortgage LLC




                            U.S. Bank N.A.,                3314 S. Keswick        Directly               $13,517.00                         $23,003.53
                            et al                                                                                                           Pre petition
                                                                                                                                            arrears,
                                                                                                                                            including post
                                                                                                                                            petition arrears
                                                                                                                                            reached by
                                                                                                                                            stipulation to
                                                                                                                                            MFR.



          § 4(c) Allowed Secured Claims to be paid in full: based on proof of claim or pre-confirmation determination of the amount, extent
or validity of the claim

                          None. If “None” is checked, the rest of § 4(c) need not be completed.
                         (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion of payments under the plan.

                      (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to determine the amount, extent or
              validity of the allowed secured claim and the court will make its determination prior to the confirmation hearing.

                      (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general unsecured claim under Part 5
              of the Plan or (B) as a priority claim under Part 3, as determined by the court.

                       (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C. § 1325(a) (5) (B) (ii) will
              be paid at the rate and in the amount listed below. If the claimant included a different interest rate or amount for “present value” interest
              in its proof of claim or otherwise disputes the amount provided for “present value” interest, the claimant must file an objection to
              confirmation.\

                     (5) Upon completion of the Plan, payments made under this section satisfy the allowed secured claim and release the
              corresponding lien.

 Name of Creditor                  Description of                    Allowed Secured         Present Value        Dollar Amount of      Total Amount to be
                                   Secured Property                  Claim                   Interest Rate        Present Value         Paid
                                   and Address, if real                                                           Interest
                                   property


                                                                                         3
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 Name of Creditor     Description of                                 Allowed Secured            Present Value        Dollar Amount of   Total Amount to be
                      Secured Property                               Claim                      Interest Rate        Present Value      Paid
                      and Address, if real                                                                           Interest
                      property
 City of Philadelphia RE                                                       $1,969.11                                                             $1,969.11
 (Claim #11)                                                                                                                              Per discussions with
                                                                                                                                                     the City of
                                                                                                                                          Philadelphia, Debtor
                                                                                                                                              shall not pay the
                                                                                                                                          portion of this claim
                                                                                                                                               secured to 4661
                                                                                                                                           James Street. That
                                                                                                                                              property is being
                                                                                                                                                  surrendered.
 City of Philadelphia              RE                                            $195.00                                                                $195.00
 Claim 12

 City of Philadelphia              RE                                           $3,106.19                                                                 $3,106.19
 Claim 13


                  § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506

                          None. If “None” is checked, the rest of § 4(d) need not be completed.

             § 4(e) Surrender

                          None. If “None” is checked, the rest of § 4(e) need not be completed.
                          (1) Debtor elects to surrender the secured property listed below that secures the creditor’s claim.
                          (2) The automatic stay under 11 U.S.C. § 362(a) and 1301(a) with respect to the secured property terminates upon confirmation
                          of the Plan.
                          (3) The Trustee shall make no payments to the creditors listed below on their secured claims.

 Creditor                                                                               Secured Property
                                                                                        4661 James Street Philadelphia, PA 19137 Philadelphia County
                                                                                        Market Value = $50,995.00, minus 10% cost of sale = $45,895.50.
 Ocwen Loan Servicing, LLC                                                              Debtor intends to surrender this property.
                                                                                        4661 James Street Philadelphia, PA 19137 Philadelphia County
                                                                                        Market Value = $50,995.00, minus 10% cost of sale = $45,895.50.
 City of Philadelphia (Claim 11)                                                        Debtor intends to surrender this property.

             § 4(f) Loan Modification

                  None. If “None” is checked, the rest of § 4(f) need not be completed.

 Part 5:General Unsecured Claims

             § 5(a) Separately classified allowed unsecured non-priority claims

                          None. If “None” is checked, the rest of § 5(a) need not be completed.

             § 5(b) Timely filed unsecured non-priority claims

                           (1) Liquidation Test (check one box)

                                             All Debtor(s) property is claimed as exempt.

                                             Debtor(s) has non-exempt property valued at $       for purposes of § 1325(a)(4) and plan provides for
                                             distribution of $     to allowed priority and unsecured general creditors.

                           (2) Funding: § 5(b) claims to be paid as follows (check one box):


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                                             Pro rata

                                             100%

                                             Other (Describe)


 Part 6: Executory Contracts & Unexpired Leases

                          None. If “None” is checked, the rest of § 6 need not be completed or reproduced.



 Part 7: Other Provisions

             § 7(a) General Principles Applicable to The Plan

             (1) Vesting of Property of the Estate (check one box)

                               Upon confirmation

                               Upon discharge

           (2) Subject to Bankruptcy Rule 3012, the amount of a creditor’s claim listed in its proof of claim controls over any contrary amounts listed
in Parts 3, 4 or 5 of the Plan.

           (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under § 1326(a)(1)(B), (C) shall be disbursed
to the creditors by the debtor directly. All other disbursements to creditors shall be made to the Trustee.

          (4) If Debtor is successful in obtaining a recovery in personal injury or other litigation in which Debtor is the plaintiff, before the
completion of plan payments, any such recovery in excess of any applicable exemption will be paid to the Trustee as a special Plan payment to the
extent necessary to pay priority and general unsecured creditors, or as agreed by the Debtor or the Trustee and approved by the court..

             § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor’s principal residence

             (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such arrearage.

          (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage obligations as provided for by
the terms of the underlying mortgage note.

           (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole purpose of precluding the imposition
of late payment charges or other default-related fees and services based on the pre-petition default or default(s). Late charges may be assessed on
post-petition payments as provided by the terms of the mortgage and note.

          (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the Debtor pre-petition, and the Debtor
provides for payments of that claim directly to the creditor in the Plan, the holder of the claims shall resume sending customary monthly statements.

           (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon books for payments prior to the
filing of the petition, upon request, the creditor shall forward post-petition coupon book(s) to the Debtor after this case has been filed.

             (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon books as set forth above.

             § 7(c) Sale of Real Property

                  None. If “None” is checked, the rest of § 7(c) need not be completed.

           (1) Closing for the sale of (the “Real Property”) shall be completed within months of the commencement of this bankruptcy case (the
“Sale Deadline”). Unless otherwise agreed, each secured creditor will be paid the full amount of their secured claims as reflected in § 4.b (1) of the
Plan at the closing (“Closing Date”).

             (2) The Real Property will be marketed for sale in the following manner and on the following terms:



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           (3) Confirmation of this Plan shall constitute an order authorizing the Debtor to pay at settlement all customary closing expenses and all
liens and encumbrances, including all § 4(b) claims, as may be necessary to convey good and marketable title to the purchaser. However, nothing in
this Plan shall preclude the Debtor from seeking court approval of the sale of the property free and clear of liens and encumbrances pursuant to 11
U.S.C. § 363(f), either prior to or after confirmation of the Plan, if, in the Debtor’s judgment, such approval is necessary or in order to convey
insurable title or is otherwise reasonably necessary under the circumstances to implement this Plan.

             (4) Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours of the Closing Date.

             (5) In the event that a sale of the Real Property has not been consummated by the expiration of the Sale Deadline:


 Part 8: Order of Distribution

             The order of distribution of Plan payments will be as follows:

             Level 1: Trustee Commissions*
             Level 2: Domestic Support Obligations
             Level 3: Adequate Protection Payments
             Level 4: Debtor’s attorney’s fees
             Level 5: Priority claims, pro rata
             Level 6: Secured claims, pro rata
             Level 7: Specially classified unsecured claims
             Level 8: General unsecured claims
             Level 9: Untimely filed general unsecured non-priority claims to which debtor has not objected

*Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee not to exceed ten (10) percent.

 Part 9: Nonstandard or Additional Plan Provisions

Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable box in Part 1 of this Plan is checked.
Nonstandard or additional plan provisions placed elsewhere in the Plan are void.

           None. If “None” is checked, the rest of § 9 need not be completed.



 Part 10: Signatures

          By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no nonstandard or additional
provisions other than those in Part 9 of the Plan.

 Date:       September 27, 2019                                                     /s/ Brad J. Sadek, Esquire
                                                                                    Brad J. Sadek, Esquire
                                                                                    Attorney for Debtor(s)




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